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                         UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF NEW YORK

 ____________________________________
 RAFIK TADROS,                        |
                                      |             Case No. 2:21-cv-01797-PKC-MMH
                         Plaintiff   |
                                     |
       v.                            |
                                     |
 KADMON HOLDINGS, INC., et al.,      |
                                     |
                         Defendants |
 ____________________________________|



                      NOTICE OF VOLUNTARY DISMISSAL
             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(A)



        Lead Plaintiff Rafik Tadros (“Tadros” or “Plaintiff”), through his undersigned counsel of

 record, states as follows:

        WHEREAS, Tadros filed the initial complaint in this action on April 2, 2021 against

 Kadmon Holdings, Inc. (“Kadmon”), and certain of its officers and directors;

        WHEREAS, on July 1, 2021, the Court entered an order appointing Tadros lead plaintiff;

        WHEREAS, Tadros is scheduled to file an amended complaint on or before September 16,

 2021, with Defendants’ answers or responsive motions due thereafter (ECF No. 22);

        WHEREAS, Plaintiff has not yet amended his complaint, and no Defendant has answered

 any complaint in this Action or moved for summary judgment;

        WHEREAS, under Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff is entitled to

 dismiss the Action by filing “a notice of dismissal before the opposing party serves either an

 answer or a motion for summary judgment…”; and
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        WHEREAS, no class has been certified and no motion for class certification has been filed,

 and the voluntary dismissal of Plaintiff’s claims against Defendants will not bind absent class

 members;

        THEREFORE, Plaintiff, through his undersigned counsel, hereby dismisses the Action

 without prejudice, with all parties to bear their own costs and fees.

 Dated: July 22, 2021

                                               POMERANTZ LLP


                                               /s/ Joshua B. Silverman___
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                                  CERTIFICATE OF SERVICE

        I, Joshua B. Silverman, an attorney, do certify that on this date, July 22, 2021, I caused the
 foregoing NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FEDERAL RULE OF
 CIVIL PROCEDURE 41(A) to all counsel of record via ECF.


                                               /s/_Joshua B. Silverman_______
                                               Joshua B. Silverman
